            Case 1:18-bk-11919-MB                      Doc 29 Filed 08/14/18 Entered 08/14/18 21:13:11                                        Desc
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 Attorney or Party Name. Address. Telephone & FAX FOR COURT USE ONLY
 Nos.. State Bar No. & Email Address
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 Randolph R. Ramirez. Esq. [SBN297928]
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 San Marino. CA 91108
 Te l : 6 2 6 . 7 6 5 . 5 4 11
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 lawrrr@me.com




 n Debtor(s) appearing without an attorney
 0 Attorney for Debtor(s)
                                                      U N I T E D S TAT E S B A N K R U P T C Y C O U R T
                                 C E N T R A L D I S T R I C T O F C A U F O R N I A - S A N F E R N A N D O VA . L E Y D I V I S I O N

 In re:                                                                         CASE NO.: 1:18-bk-11919-MB
 JUAN RENE MEJIA                                                                CHAPTER: 7


                                                                                             DECLARATION BY DEBTOR(S)
                                                                                   ASTO WHETHER^liCOME WAS RECEIVED
                                                                                   F R O M A N E M P L O Y E R W I T H I N 6 0 D AY S O F
                                                                                               T H E P E T I T I O N D AT E

                                                                                                [11 U.S.C. § 521 (a){1)(B)(iv)]

                                                                                                         [No hearing required]
                                                                 Debtor(s).

Debtor(s) provides the following declaration(s) as to whether income was received from an employer within 60 days of the
Debtor(s) filing this bankruptcy case (Petition Date), as required by 11 U.S.C. § 521(a)(1 i(B)(iv):

Declaration of Debtor 1


1. 0 I am Debtor 1 in this case, and I declare under penalty of perjury that the followirtg information is true and correct-

            Durfng the 60<lay period before the Petition Date (Check oniv ONE box below):
            |x I was paid by an employer. Attached are copies of all statements of eamings. pay stubs, or other proof of
                  employment income I received from my employer during this 60-day period. (If the Debtor's social security
                  number or bank account is on a pay stub or other proof of income, the Debtc r must cross out (redact) the
                  number(s) before filing this declaration.)

            n I was not paid by an employer because I was either self-employed only, or not employed.



Date: 08/14/2018                 JUAN RENE MEJIA                                                Isl Juan Rene Mejia
                                             Printed name of Debtor 1                                          Signature of Debtor 1


          This form Is mandatory. It has traen approved for use In the United States Bankruptcy Court for the          al District of CaQfomia.


December                                  2015                           Paget                                          F 1 0 0 2 - 1 . E M P. I N C O M E . D E C
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 2. □ I am Debtor 2 in this case, and I declare under penalty of perjury that the following information is true and correct:

         During the 60-day period before the Petition Date (Check only ONE box below):
         □ i was paid by an employer. Attached are copies of all statements of eami igs, pay stubs, or other proof of
                employment income I received from my employer during this 60 day period. {If the Debtor's social security
                number or bank account is on a pay stub or other proof of income, the Debt v must cross out (redact) the
                number(s) behre filing this declaration.)

         n 1 was not paid by an employer because I was either self-employed only, a - not employed.




                                       Printed name of Debtor 2                                              Signature of Debtor 2




       This fbrni Is mandatory. It has been approved for use in the United States Bankniptcy Court for the Central District of Califomia.
December 2015
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